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                        IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION




  HEATHER PICQUELLE,

          Plaintiff,                                        Case No.: 1:23-cv-16340

  v.                                                        Judge John F. Kness

  THE PARTNERSHIPS AND UNINCORPORATED                       Magistrate Judge Young B. Kim
  ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

          Defendants.




                              SATISFACTION OF JUDGMENT

         WHEREAS, a judgment was entered in the above action on May 13, 2024 [37] in favor of

Plaintiffs and against the Defendants Identified in Amended Schedule A. Plaintiffs acknowledge

payment of an agreed upon damages amount, costs, and interest and desires to release this judgment

and hereby fully and completely satisfy the same as to the following Defendants:

               NO.                                  DEFENDANT
                70                                  Giant Custom


         THEREFORE, full and complete satisfaction of said judgment as to above identified

Defendants is hereby acknowledged, and the Clerk of the Court is hereby authorized and directed

to make an entry of the full and complete satisfaction on the docket of said judgment.
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DATED: July 22
            _, 2024                                Respectfully submitted,



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                                                   ATTORNEY FOR PLAINTIFF(S)




Subscribed and sworn before me by Keith A. Vogt, on this _of
                                                         22 July, 2024.

Given under by hand and notarial seal.




                                            STATE OF __      !_I_/
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                                                             (!yp K
                                            COUNTY OF --=-----------


                                                             GRISELDA DELGADO
                                                               OFFICIAL SEAL
                                                • N.otary Public, State of Illinois
                                                            My Commission Expires
                                                               October 05, 2026
